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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS
                          CENTRAL DIVISION

_________________________________
INFINITY FLUIDS, CORP.,       )
                                    )
            Plaintiff,              )
                                    )
v.                                  )   Civil Action No. 4:12-cv-40004-TSH
                                    )
GENERAL DYNAMICS LAND               )
SYSTEMS, INC.                       )
                                    )
            Defendant.              )
_________________________________   )


          DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS
     MOTION TO COMPEL ARBITRATION AND DISMISS THIS ACTION
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        Defendant General Dynamics Land Systems, Inc. (“General Dynamics”) hereby

requests that this Court, pursuant to the Federal Arbitration Act, 9 U.S.C. § 4, issue an

order (1) compelling the plaintiff, Infinity Fluids, Corp. (“Infinity”) to arbitrate each of

the claims in its Complaint; and (2) dismissing Infinity’s Complaint in its entirety.

        As discussed in more detail below, two clear and unambiguous arbitration clauses

in written agreements between the parties require that “all disputes” and “any and all

claims” between them must be committed to binding arbitration, not proceedings in court.

Despite entering into these written agreements, Infinity chose to file a state court

complaint (since removed to this Court by General Dynamics) consisting of ten claims

that relate directly to the subject-matter of the written agreements. Now, after receiving

an arbitration demand from General Dynamics, Infinity has refused to submit this case to

arbitration. Infinity has never explained (nor could it) why the mandatory arbitration

provisions that it agreed to do not control here. As such, this Court should compel

arbitration and dismiss Infinity’s complaint.

I.      FACTUAL AND PROCEDURAL BACKGROUND

        In 2008, General Dynamics was working to develop and deliver seven prototypes

of the Expeditionary Fighting Vehicle (“EFV”) to the Marine Corps. EFVs were

designed to be armored amphibious vehicles that would carry Marines in combat gear

ashore and then fight like a tank. The EFV was designed to operate in extreme weather

environments, including temperatures as cold as -25 F. To start the vehicle in such cold

temperatures, the EFV was designed with an Auxiliary Power Unit (“APU”), located in a

compartment on the side of the vehicle. In a “cold start” situation, the APU would warm

the batteries and also warm up the primary engine coolant, so that coolant could flow

properly through the EFV engine manifold. The portion of the APU intended to “warm

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up” the coolant fluid in order to start the engine in cold weather was called the

Supplemental Heating System, or “SHS.” The SHS would be located in the APU

compartment. In 2008, it was envisioned that a battery-powered “in line” heater

assembly could be built to warm one of the tubes through which engine coolant flowed.

The General Dynamics engineering team identified a vendor, Infinity, believed to be

capable of designing a system that would meet the requirements of the SHS Inline

Heater, and was willing to develop a small number of heating assemblies on a relatively

short time schedule.

           In May 2008, to facilitate the exchange of information between them, General

Dynamics and Infinity entered into a Proprietary Data Agreement (“PDA”). Paragraph

15 included a mandatory arbitration clause, which provided in relevant part as follows:

           All disputes arising from or relating to this Agreement, with the sole exception of
           disputes regarding the creation or ownership of any and all intellectual property,
           shall be irrevocably submitted to arbitration, to be conducted in a mutually decide
           upon location, in accordance with the commercial arbitration rules of the
           American Arbitration Association then in effect.

PDA, ¶ 15. (Attached to the Declaration of Daniel M. Esrick (“Esrick Decl.”) as Ex. A).1

In February 2009, after reviewing Infinity’s heater proposal, General Dynamics

submitted purchase orders for seven heater assemblies as well as nonrecoverable

engineering costs. These purchase orders included standard terms and conditions which,

like the PDA, contained a mandatory arbitration clause providing (in relevant part) as

follows:


           Any and all claims, disputes or other matters in question arising out of, or relating
           to, this Contract or the breach thereof shall be decided by arbitration in
           accordance with the then current Commercial Arbitration Rules of the American
           Arbitration Association (the “AAA Rules”).

1
    The Esrick Decl., with Exhibits A-D, is being filed concurrently with this Memorandum.

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Purchase Order Terms and Conditions, ¶ 30. (Esrick Decl., Ex. B). Collectively, the

arbitration provisions in the PDA and purchase order terms and conditions will be

hereinafter referred to as the “Arbitration Clauses.”

        Despite General Dynamics’ best efforts to work with Infinity, Infinity ultimately

failed to deliver any heaters that met the specifications set forth in the purchase order. As

a result, General Dynamics put the heater project with Infinity on hold. General

Dynamics then conducted a two-year study to identify vendors who could provide heaters

that met the EFV cold start requirements. Infinity (and others) were invited to submit

new bids. Ultimately, General Dynamics selected a different vendor, Clayborn Labs, to

provide the requested heater prototypes. Clayborn Labs’ flexible heater design was far

different than Infinity’s failed design, which was rigid and could not be bent to meet the

required specifications. Clayborn Labs’ heater assembly was successfully tested and

passed Critical Design Review in December 2011. However, by that time, the

Department of Defense had cancelled the EFV program; thus, no additional prototypes

were built, nor are any scheduled to be built.

        On December 29, 2011, Infinity filed a complaint against General Dynamics in

the Worcester Superior Court alleging trade secret misrepresentation, breach of contract

and related causes of action. Each of the claims in the Complaint relate directly to the

confidentiality obligations of the parties under the PDA, or are contract claims based on a

purported breach of conditions of the purchase orders. General Dynamics subsequently

removed the case to this Court and answered the Complaint.

        Relying on the Arbitration Clauses of Paragraph 15 of the PDA and Paragraph 30

of the purchase order terms and conditions, on February 24, 2013, General Dynamics



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served an arbitration demand on Infinity. (Esrick Decl., Ex. C). Infinity responded by

claiming, with no supporting authority, that this case should not be submitted to

arbitration. See March 15, 2012 letter from Rajwani to Teran. (Esrick Decl., Ex. D).

        In January of this year, the parties participated in a mediation session, which was

unsuccessful. This motion followed.

II.     ARGUMENT

        A.      The Arbitration Clauses Are Enforceable Under the Federal
                Arbitration Act.

The Federal Arbitration Act (“FAA”) was enacted “to ensure judicial enforcement of

privately made agreements to arbitrate[.]” Dean Witter Reynolds v. Byrd, 470 U.S. 213,

219 (1985); Southland Corp. v. Keating, 465 U.S. 1, 10 (1984) (The FAA establishes a

“strong national policy favoring arbitration.”). Under Section 2 of the FAA, “a written

provision in . . . a contract evidencing a transaction involving commerce to settle by

arbitration a controversy thereafter arising out of such contract . . . shall be valid,

irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

revocation of any contract.” 9 U.S.C. § 2. Here, the Arbitration Clauses are undeniably

in writing and involve commerce, as the underlying PDA and the subsequent purchase

orders relate to the manufacture and sale of goods. As such, the Arbitration Clauses are

governed by the FAA. See Mugnano-Bornstein v. Crowell, 42 Mass. App. Ct. 347, 350,

677 N.E.2d 242, 245 (1997) (“Where an arbitration agreement falls within the purview of

the FAA, the act governs the arbitrability of the dispute in State or Federal Court.”).

        Section 4 of the FAA grants “[a] party aggrieved by the alleged failure, neglect, or

refusal of another to arbitrate under a written agreement for arbitration” the right to




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“petition any United States district court . . . for an order directing that such arbitration

proceed in the manner provided for in such agreement.” 9 U.S.C. § 4.

        Courts “rigorously enforce agreements to arbitrate” under the FAA.

Shearson/American Express, Inc. v. McMahon, 482 U.S. 220, 226 (1987). See also Dean

Witter, 470 U.S. at 218 (FAA leaves no place for exercise of discretion by district court).

Indeed, the FAA compels judicial enforcement of an arbitration agreement; Newspaper

Guild of Salem, Local 105 of Newspaper Guild v. Ottaway Newspapers, Inc., 79 F.3d

1273, 1279 (1st Cir. 1996) (parties must proceed with arbitration “unless it may be said

with positive assurance that the arbitration clause is not susceptible of an interpretation

that covers the asserted dispute”) (quotations and citations omitted). Any doubt

regarding the scope of arbitrable issues must be “resolved in favor or arbitration, whether

the problem at hand is the construction of the contract language itself or an allegation or

waiver, delay, or a like defense to arbitrability.” Moses H. Cone Mem’l. Hosp. v.

Mercury Constr. Corp., 460 U.S. 1, 25 (1983).

        B.      All of Infinity’s Claims are Arbitrable and the Arbitration Clauses
                Encompass All of Infinity’s Claims.

        The language of the parties’ arbitration clause itself determines what issues the

parties agreed to arbitrate. See Moses, 460 U.S. at 24-5. Here, both of the Arbitration

Clauses are very broad. As set forth above, the Arbitration Clause in the PDA applies to

“All disputes arising from or relating to this Agreement, with the sole exception of

disputes regarding the creation or ownership of any and all intellectual property.” (PDA,

Para. 15). The Arbitration Clause in the Purchase Order Terms and Conditions is equally

broad, including “[a]ny and all claims, disputes, or other matters in question arising out




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of, or relating to, this Contract or the breach thereof . . . .” (Purchase Order Terms and

Conditions, Para. 30).

        Although Infinity’s Complaint contains ten causes of action, they each fall into

one of two categories, both of which are covered by the broad Arbitration Clauses. The

first category relates to trade secrets and confidential information and flows directly from

the parties’ PDA, which governed the terms and conditions under which the parties were

to share their respective confidential information. As the chart shows below, seven of

Infinity’s ten claims relate to purported trade secrets and/or confidentiality issues, and

therefore, “arise from or relat[e] to” the PDA because they allege that GDLS purportedly

improperly used or shared Infinity’s confidential information, which the PDA was

executed to prevent. See Complaint, ¶ 17 (“Infinity Fluids and GDLS entered into a

proprietary data agreement in order to protect the exchange of confidential information

between the parties.”).

CAUSE OF ACTION                  RELEVANCE TO PDA

Count I (Misappropriation        “Upon information and belief, GDLS has taken, used,
and Misuse of Trade Secret       disclosed and/or otherwise misappropriated Infinity
Information) (M.G.L. c. 93,      Fluids’ confidential, proprietary, and trade secret
Sec. 42)                         information for its own use.” (Complaint, ¶ 65)

                                 “Infinity Fluids has taken measures and made efforts that
                                 are reasonable under the circumstances, including
                                 entering into a proprietary data agreement with GDLS on
                                 May 8, 2008, to maintain the secrecy of the confidential,
                                 proprietary, and trade secret information that GDLS has
                                 misappropriated from Infinity Fluids.” (Complaint, ¶
                                 66).
Count II (Misappropriation       “Upon information and belief, GDLS has taken, used,
of Confidential Information)     disclosed and/or otherwise misappropriated Infinity
                                 Fluids’ confidential, proprietary, and trade secret
                                 information for its own use through improper means, in
                                 breach of a confidential relationship.” (Complaint, ¶ 72)
                                 “Infinity Fluids has taken measures and made efforts that

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CAUSE OF ACTION                 RELEVANCE TO PDA

                                are reasonable under the circumstances, including
                                entering into a proprietary data agreement with GDLS on
                                May 8, 2008, to maintain the secrecy of the confidential
                                and proprietary information that GDLS has
                                misappropriated from Infinity Fluids.” (Complaint, ¶
                                73).

Count III (Unfair               Referencing “GDLS’s theft, use disclosure and/or
Competition) (M.G.L. c.         misappropriation of Infinity Fluids’ confidential,
93A, Sec. 11)                   proprietary, and trade secret information.” (Complaint, ¶
                                76)
Count IV (Negligent             “GDLS . . . misrepresented . . . (i) its intentions in
Misrepresentation) (M.G.L.      obtaining Infinity Fluids’ confidential, proprietary, and
c. 93A, Sec. 11)                trade secret information . . . .” (Complaint, ¶ 80)
Count V (Negligent              “GDLS . . . misrepresented its intentions in obtaining
Misrepresentation)              Infinity Fluids’ confidential, proprietary, and trade secret
                                information.” (Complaint, ¶ 85)
Count IX (Fraudulent            “GDLS . . . made numerous representations of material
Misrepresentation) (M.G.L.      fact to Infinity Fluids regarding . . . (iv) GDLS’s
c. 93A, Sec. 11)                maintenance of Infinity Fluids’ proprietary information in
                                confidence.” (Complaint, ¶ 104)
Count X (Fraud and Deceit)      “GDLS . . . made numerous material representations to
                                Infinity Fluids regarding . . . GDLS’s maintenance of
                                Infinity Fluids’ proprietary information in confidence.”
                                (Complaint, ¶ 112)


Given these repeated references in its Complaint to General Dynamics’ purported misuse

of Infinity’s proprietary and confidential information, Infinity cannot credibly contend

that the above claims do not “aris[e] from or relate to” the PDA. As such, the Court

should conclude that each of these claims is covered by the Arbitration Clause in the

PDA.

        The second category of claims in Infinity’s Complaint are the contract claims,

each of which ties directly to the Arbitration Clause in the Purchase Order Terms and

Conditions, as the chart shows below.



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CAUSE OF ACTION                    RELEVANCE TO PURCHASE ORDERS

Count VI (Breach of                “GDLS issued standard purchase orders for the
Contract)                          manufacture of heaters and purchase of equipment for
                                   testing” and “breached its contract with Infinity Fluids by
                                   failing to pay the amounts owed to Infinity Fluids for the
                                   testing performed.” (Complaint, ¶ ¶ 91 and 93).
Counts VII and VIII (Unjust        “GDLS has been unjustly enriched by the products and
Enrichment)                        services provided to it by Infinity Fluids without just
                                   compensation.” (Complaint, ¶ ¶ 97 and 101).



These claims, therefore, “aris[e] out of or relate to” the Purchase Order Terms and

Conditions, and should be referred to arbitration. See also Fed. Arb. Act., Sec. 2

(contract-based claims are arbitrable where, as here, the arbitration clause requires

arbitration of contract claims).

        Although it is clear that each of Infinity’s claims are covered by the Arbitration

Clauses, to the extent there is any ambiguity, it should be resolved in favor of arbitration.

See AT&T Tech., Inc. v. Communication Workers of Am., 475 U.S. 643, 650 (1986) (FAA

creates the presumption that a contractual arbitration clause must be enforced unless “it

can be said with positive assurance that the arbitration clause is not susceptible of an

interpretation that covers the asserted dispute”); Williams v. HealthAlliance Hospitals,

Inc., 158 F. Supp.2d 156, 159 (D. Mass. 2001) (“[A]ny doubt over whether a particular

dispute is covered by an arbitration agreement should be resolved in favor of

arbitration”). This is particularly true where, as here, the Arbitration Agreements are

broad enough to include all disputes arising from or relating to the relevant contracts.

AT&T Tech., Inc., 475 U.S. at 650 (internal citations omitted) (“In such cases, ‘[i]n the

absence of any express provision excluding a particular grievance from arbitration, we




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think only the most forceful evidence of a purpose to exclude the claim from arbitration

can prevail.’”).

         C.       Because Infinity’s Claims Are Subject to a Mandatory Agreement to
                  Arbitrate, the Court Should Dismiss This Action in its Entirety.

         “[A] court may dismiss, rather than stay, a case when all of the issues before the

court are arbitrable.” Bercovitch v. Baldwin School, Inc., 133 F.3d 141, 156 n.21 (1st Cir.

1998) (dismissal of entire action proper where all claims are subject to arbitration); Next

Step Medical Co., Inc. v. Johnson & Johnson Intl., 619 F. 3d 67, 71 (1st Cir. 2010)

(“Where one side is entitled to arbitration of a claim brought in court, in this circuit a

district court can, in its discretion, choose to dismiss the law suit, if all claims asserted in

the case are found arbitrable.”) (emphasis in original); Morse v. Sir Speedy, Inc., 1997

WL 724434, at *1-2 (D. Mass. 1997) (dismissing complaint where claim was subject to

arbitration clause); Hurlbut v. Gantshar, 674 F. Supp. 385, 392 (D. Mass. 1987)

(dismissing action where all claims arbitrable). As described above, because all of

Infinity’s claims are covered by the Arbitration Agreements, dismissal of Infinity’s

Complaint in its entirety is appropriate here.2

III.     CONCLUSION

         For the foregoing reasons, General Dynamics respectfully requests that the Court

issue an order compelling arbitration and dismissing Infinity’s Complaint in its entirety.




2
  Although Section 3 of the FAA requires that other proceedings be stayed while a dispute subject to
arbitration is resolved through arbitration (see 9 U.S.C. § 3), there is no reason to stay this case pending
completion of the arbitration because all claims will be resolved through arbitration. General Dynamics
assumes that Infinity would comply with an arbitration decision. However, in the unlikely event that it is
necessary to ask a court to enforce the arbitration decision, a new suit could be filed at that time for that
limited purpose.

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                                              Respectfully submitted,

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Dated: February 25, 2013




                            CERTIFICATE OF SERVICE

        I, Gregory P. Teran, hereby certify that on February 25, 2013, the foregoing

document was served electronically on all counsel of record via the Court’s electronic

filing system.

                                                     /s/ Gregory P. Teran___
                                                     Gregory P. Teran



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